          Case 2:17-bk-17292-VZ                    Doc 522 Filed 04/10/18 Entered 04/10/18 10:36:52                                        Desc
                                                    Main Document    Page 1 of 11

 Attorney or Party Name, Address, Telephone & FAX                              FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
 TIMOTHY J. YOO (SBN 155531)
 EVE H. KARASIK (SBN 155356)
 JULIET Y. OH (SBN 211414)
 LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
 10250 Constellation Boulevard, Suite 1700
 Los Angeles, California 90067
 Telephone: (310) 229-1234
 Facsimile: (310) 229-1244
 Email: tjy@lnbyb.com; ehk@lnbyb.com; jyo@lnbyb.com

     Movant appearing without an attorney
     Attorney for Movant

                                          UNITED STATES BANKRUPTCY COURT
                              CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION
                                                                                 DIVISION

 In re:                                                                        CASE NO.: 2:17-bk-17292-VZ
 CORNERSTONE APPAREL, INC.                                                     CHAPTER: 11
 d/b/a Papaya Clothing,
                                                                                       NOTICE OF MOTION AND MOTION IN
                                                                                      CHAPTER 11 CASE FOR THE ENTRY OF:
                                                                                     A FINAL DECREE AND ORDER
                                                                                     CLOSING CASE; OR
                                                                                     AN ORDER CLOSING CASE
                                                                                     ON INTERIM BASIS
                                                                                            [11 U.S.C. § 350(a) and 1101(2);
                                                                                               FRBP 3022; LBR 3022-1]

                                                                                     No hearing unless requested under LBR 9013-1(o)(4)
                                                                                     Hearing Information:
                                                                               DATE:                 05/01/2018
                                                                               TIME:                 11:00 a.m.
                                                                               COURTROOM:            1368
                                                                               ADDRESS:              255 East Temple Street
                                                                                                     Los Angeles, California 90012
                                                               Debtor(s).

PLEASE TAKE NOTICE THAT the Reorganized Debtor or chapter 11 trustee requests the entry of a final decree and/or
an order closing a chapter 11 case in which a plan of reorganization was confirmed.

Your rights might be affected by this Motion. You may want to consult an attorney. Refer to the box checked below for
the deadline to file and serve a written response. If you fail to timely file and serve a written response, the court may treat
such failure as a waiver of your right to oppose the Motion and may grant the requested relief. You must serve a copy of
your opposition upon the Reorganized Debtor, the Reorganized Debtor’s attorney, the United States trustee, and on the
judge pursuant to LBR 5005-2(d) and the Court Manual.

1.        No Hearing Scheduled; Notice Provided under LBR 9013-1(o): This Motion is filed by the Debtor pursuant to
          LBR 9013-1(o), which provides for granting of motions without a hearing. The full Motion is attached, including
          the legal and factual grounds upon which the Motion is made. If you wish to oppose this Motion, you must file a

            This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

June 2015                                                                Page 1                        F 3022-1.1.MOTION.CLOSE.CH11.CASE
Case 2:17-bk-17292-VZ   Doc 522 Filed 04/10/18 Entered 04/10/18 10:36:52   Desc
                         Main Document    Page 2 of 11




                                            /s/ Juliet Y. Oh
Case 2:17-bk-17292-VZ   Doc 522 Filed 04/10/18 Entered 04/10/18 10:36:52   Desc
                         Main Document    Page 3 of 11
Case 2:17-bk-17292-VZ       Doc 522 Filed 04/10/18 Entered 04/10/18 10:36:52               Desc
                             Main Document    Page 4 of 11

  1                                DECLARATION OF TAE Y. YI

  2       IN SUPPORT OF MOTION IN CHAPTER 11 CASE FOR ENTRY OF A FINAL

  3                           DECREE AND ORDER CLOSING CASE

  4         I, TAE Y. YI, hereby declare as follows:

  5         1.      I am over 18 years of age. I am the President, Chief Financial Officer, Secretary,

  6 and one of the three shareholders of Cornerstone Apparel, Inc., d/b/a Papaya Clothing, the
  7 Reorganized Debtor herein (the “Debtor” or “Reorganized Debtor”), and am therefore familiar
  8 with the business operations and financial books and records of the Debtor. I have personal
  9 knowledge of the facts set forth below and, if called to testify as a witness, I could and would
 10 competently testify thereto.
 11         2.      I have access to the Debtor’s books and records.        As the President, Chief

 12 Financial Officer, and Secretary of the Debtor, I am familiar with the history, organization,
 13 operations and financial condition of the Debtor. The records and documents referred to in this
 14 Declaration constitute writings taken, made, or maintained in the regular or ordinary course of
 15 the Debtor’s business at or near the time of act, condition or event to which they relate by
 16 persons employed by the Debtor who had a business duty to the Debtor to accurately and
 17 completely take, make, and maintain such records and documents. The statements set forth in
 18 this declaration are based upon my own personal knowledge and my review of the Debtor’s
 19 books and records.
 20         3.      I submit this declaration in support of the Notice Of Motion And Motion In

 21 Chapter 11 Case For The Entry Of A Final Decree And Order Closing Case (the “Motion”), to
 22 which this declaration is attached. All capitalized terms not specifically defined herein shall
 23 have the meanings ascribed to them in the Motion.
 24         4.      The Debtor filed a voluntary petition for relief under Chapter 11 of the

 25 Bankruptcy Code on June 15, 2017 (the “Petition Date”).
 26         5.      On December 15, 2017, the Debtor filed that certain Second Amended Disclosure

 27 Statement And Plan Of Reorganization of A Debtor Who Is Not An Individual [Doc. No. 296]
 28 (the “Plan”) in its bankruptcy case.
Case 2:17-bk-17292-VZ       Doc 522 Filed 04/10/18 Entered 04/10/18 10:36:52              Desc
                             Main Document    Page 5 of 11

  1         6.      On February 20, 2018, the Court entered an order confirming the Plan [Doc. No.

  2 399] (the “Confirmation Order”) in the Debtor’s bankruptcy case.
  3         7.      The Plan became effective on March 7, 2018 (the “Effective Date”).           The

  4 Reorganized Debtor filed and served a notice of (i) the entry of the Confirmation Order and the
  5 Effective Date of the Plan, and (ii) the second deadline to file requests for payment of
  6 administrative expense priority claims in the Debtor’s case, for the period from November 1,
  7 2017 through March 6, 2018 [Doc. No. 441] (the “Post-Confirmation Notice”) on March 7,
  8 2018.
  9         8.      As provided for in the Plan, the Debtor’s existing officers (i.e., Kenneth Choi –

 10 Chief Executive Officer and Merchandise Director; Rachel Choi – Vice President, Human
 11 Resource Director; and Tae Y. Yi – President and Chief Financial Officer) have continued to
 12 retain their positions on behalf of the Reorganized Debtor, and the post-confirmation
 13 management of the Reorganized Debtor continues to be handled by the foregoing officers as
 14 well as the Board of Directors of the Reorganized Debtor.
 15         9.      As provided for in the Plan, I am acting as Disbursing Agent to collect money

 16 intended for distribution to claimants from the Reorganized Debtor and transmitting such money
 17 to claimants in accordance with the terms of the Plan.
 18         10.     In addition to paying its ordinary course operating expenses, the Reorganized

 19 Debtor is also paying the quarterly fee payments due to the Office of the United States Trustee
 20 in connection with its bankruptcy case, and is current on such payments to date.
 21         11.     Under the terms of the Plan, certain payments were required to be made by the

 22 Reorganized Debtor on or about the Effective Date (the “Effective Date Payments”). All such
 23 Effective Date Payments have been made, as discussed below.
 24                                          Cure Payments

 25         12.     As set forth on page 8 of the Plan, on or before the Effective Date, the Debtor

 26 was required to pay “Cure Amounts” for those unexpired leases and executory contracts
 27 assumed by the Debtor, to the extent not already paid, which the Debtor anticipated in the Plan
 28



                                                     2
Case 2:17-bk-17292-VZ       Doc 522 Filed 04/10/18 Entered 04/10/18 10:36:52               Desc
                             Main Document    Page 6 of 11

  1 would total approximately $247,395. All such Cure Amounts were paid by the Debtor on or
  2 before the Effective Date.
  3                                       Administrative Claims

  4          13.    As also set forth on page 8 of the Plan, on or about the Effective Date, the

  5 Reorganized Debtor was required to pay administrative claims, which the Debtor anticipated in
  6 the Plan would total approximately $2,498,242 (inclusive of administrative professional
  7 fee/expense claims). All allowed administrative claims, other than administrative professional
  8 fee/expense claims which have not yet been approved by the Court, have all been paid by the
  9 Reorganized Debtor.
 10          14.    Estate professionals have filed their final fee applications in the Debtor’s case.

 11 The hearing on such final fee applications is scheduled on April 26, 2018 at 11:00 a.m.
 12 Immediately upon obtaining Court approval of the professionals’ final fee applications, the
 13 Reorganized Debtor will issue payment to the professionals of their respective allowed but
 14 unpaid fees and expenses.
 15          15.    Based on the foregoing, I anticipate that all allowed administrative claims,

 16 including administrative professional fee/expense claims, will be paid by the Reorganized
 17 Debtor in full prior to the date and time of the hearing on the Motion.
 18                                        Priority Tax Claims

 19          16.    As set forth on page 8 of the Plan, on or about the Effective Date, the

 20 Reorganized Debtor was required to pay all allowed priority tax claims, which the Debtor
 21 anticipated in the Plan would total approximately $13,621, in full. All such priority tax claims
 22 were paid by the Reorganized Debtor on or about the Effective Date, or will be paid post-
 23 Effective Date when such claims become due and payable.
 24                                  Class 1 Priority Non-Tax Claims

 25          17.    As set forth on page 8 of the Plan, on or about the Effective Date, the

 26 Reorganized Debtor was required to pay all allowed priority non-tax claims (i.e., Class 1a and
 27 Class 1b claims), which the Debtor anticipated in the Plan would total approximately $15,692,
 28



                                                      3
Case 2:17-bk-17292-VZ       Doc 522 Filed 04/10/18 Entered 04/10/18 10:36:52               Desc
                             Main Document    Page 7 of 11

  1 in full. All such priority non-tax claims were paid by the Reorganized Debtor on or about the
  2 Effective Date.
  3                                Class 2 General Unsecured Claims

  4          18.    As set forth on pages 8 and 16 of the Plan, on or about the Effective Date, the

  5 Reorganized Debtor was required to make initial distributions in the total sum of $1,000,000 to
  6 holders of allowed general unsecured claims (i.e., Class 2 claims) on a pro rata basis. All such
  7 distributions were made by the Reorganized Debtor on or about the Effective Date. The
  8 Reorganized Debtor transferred all distributions for creditors with disputed claims to the reserve
  9 account as provided for in the Confirmation Order.
 10          19.    In addition, beginning on May 31, 2018, the Reorganized Debtor is required

 11 under the Plan to make twelve (12) quarterly distributions to holders of allowed Class 2 claims
 12 in the sum of $500,000 per quarter, and then eight (8) quarterly distributions in the sum of
 13 $437,500 per quarter. In addition, on March 31, 2023, the Reorganized Debtor is required under
 14 the Plan to make distributions to holders of allowed Class 2 claims in the sum of $1,000,000.
 15 The Reorganized Debtor has more than sufficient cash on hand to make the first quarterly
 16 distribution due on May 31, 2018 to holders of allowed Class 2 claims, and the Reorganized
 17 Debtor is confident that it will generate sufficient revenue from its ongoing business operations
 18 to make all remaining quarterly distributions (and the final distribution of $1,000,000 due on
 19 March 31, 2023) to holders of allowed Class 2 claims.
 20                                   Class 3a-3m Secured Claims

 21          20.    As set forth on pages 16-18 of the Plan (and Exhibit I thereto), on or about the

 22 Effective Date, the Reorganized Debtor was required to pay all allowed secured tax claims
 23 described therein in full. All such secured tax claims were paid by the Reorganized Debtor on
 24 or about the Effective Date, or will be paid post-Effective Date when such claims become due
 25 and payable.
 26 / / /
 27 / / /
 28



                                                      4
Case 2:17-bk-17292-VZ   Doc 522 Filed 04/10/18 Entered 04/10/18 10:36:52   Desc
                         Main Document    Page 8 of 11
Case 2:17-bk-17292-VZ                Doc 522 Filed 04/10/18 Entered 04/10/18 10:36:52                                      Desc
                                      Main Document    Page 9 of 11

  1                                 PROOF OF SERVICE OF DOCUMENT
  2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
      address is: 10250 Constellation Boulevard, Suite 1700, Los Angeles, CA 90067
  3
      A true and correct copy of the foregoing document entitled NOTICE OF MOTION AND MOTION IN
  4   CHAPTER 11 CASE FOR THE ENTRY OF A FINAL DECREE AND ORDER CLOSING CASE will be
      served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d);
  5   and (b) in the manner stated below:

  6   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
      controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
  7   hyperlink to the document. On April 10, 2018, I checked the CM/ECF docket for this bankruptcy case or
      adversary proceeding and determined that the following persons are on the Electronic Mail Notice List to
      receive NEF transmission at the email addresses stated below:
  8
                                                                              Service information continued on attached page
  9
      2. SERVED BY UNITED STATES MAIL: On April 10, 2018, I served the following persons and/or
 10   entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true
      and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
 11   addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
      completed no later than 24 hours after the document is filed.
 12
      Hon. Vincent P. Zurzolo
 13   United States Bankruptcy Court
      Edward R. Roybal Federal Building
 14   255 E. Temple Street, Suite 1360 / Ctrm 1368
      Los Angeles, CA 90012
 15
                                                                              Service information continued on attached page
 16
      3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
 17   EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
      on April 10, 2018, I served the following persons and/or entities by personal delivery, overnight mail
 18   service, or (for those who consented in writing to such service method), by facsimile transmission and/or
      email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
 19   mail to, the judge will be completed no later than 24 hours after the document is filed.

 20   None.

 21   I declare under penalty of perjury under the laws of the United States of America that the foregoing is
      true and correct.
 22
       April 10, 2018                 Stephanie Reichert                                 /s/ Stephanie Reichert
 23    Date                           Type Name                                          Signature

 24
 25
 26
 27
 28

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      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
Case 2:17-bk-17292-VZ                Doc 522 Filed 04/10/18 Entered 04/10/18 10:36:52                                      Desc
                                      Main Document    Page 10 of 11

  1   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

  2   Dustin P Branch on behalf of Creditor PGIM Real Estate, Starwood Retail Partners, LLC, The Macerich
      Company, Westfield, LLC
  3   branchd@ballardspahr.com, carolod@ballardspahr.com;hubenb@ballardspahr.com

  4   John H Choi on behalf of Interested Party Courtesy NEF
      johnchoi@kpcylaw.com, christinewong@kpcylaw.com
  5
      Richard T Davis on behalf of Creditor Spotsylvania Mall Company
  6   rdavis@cafarocompany.com, lspahlinger@cafarocompany.com

  7   John P Dillman on behalf of Creditor Cypress-Fairbanks ISD, Galveston County, Harris County, Tyler
      County: houston_bankruptcy@publicans.com
  8
      Scott Ewing on behalf of Interested Party Courtesy NEF
  9   contact@omnimgt.com, sewing@omnimgt.com;ecf@omnimgt.com;docketalarm-ecf-cacb-
      5715976304852992@inbound.docketalarm.com
 10
      Matthew A Gold on behalf of Creditor Argo Partners
 11   courts@argopartners.net

 12   Ronald E Gold on behalf of Creditor Washington Prime Group Inc.
      rgold@fbtlaw.com, joguinn@fbtlaw.com
 13
      Steven T Gubner on behalf of Creditor 2253 Apparel, Inc. dba Celebrity Pink
 14   sgubner@bg.law, ecf@bg.law

 15   William W Huckins on behalf of Creditor Washington Prime Group Inc.
      whuckins@allenmatkins.com, clynch@allenmatkins.com
 16
      Courtney J Hull on behalf of Creditor Texas Comptroller of Public Accounts
 17   bk-chull@oag.texas.gov, sherri.simpson@oag.texas.gov

 18   Clifford P Jung on behalf of Interested Party Courtesy NEF
      clifford@jyllp.com, victoria@jyllp.com;karill@jyllp.com
 19
      Eve H Karasik on behalf of Debtor Cornerstone Apparel, Inc.
 20   ehk@lnbyb.com

 21   John W Kim on behalf of Attorney John W Kim
      johnkim@jwklawgroup.com
 22
      Jeffrey Kurtzman on behalf of Creditor PREIT Services, as agent for PR Springfield Town Center, LLC
 23   kurtzman@kurtzmansteady.com

 24   Jeffrey S Kwong on behalf of Debtor Cornerstone Apparel, Inc.
      jsk@lnbyb.com, jsk@ecf.inforuptcy.com
 25
      Dare Law on behalf of U.S. Trustee United States Trustee (LA): dare.law@usdoj.gov
 26
      Scott Lee on behalf of Creditor Committee Official Committee of Unsecured Creditors
 27   slee@lbbslaw.com

 28   Noreen A Madoyan on behalf of Interested Party Courtesy NEF

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      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
Case 2:17-bk-17292-VZ                Doc 522 Filed 04/10/18 Entered 04/10/18 10:36:52                                      Desc
                                      Main Document    Page 11 of 11
      Noreen@MarguliesFaithLaw.com,
      Helen@MarguliesFaithlaw.com;Victoria@MarguliesFaithlaw.com;Brian@MarguliesFaithlaw.com
  1
      Thor D McLaughlin on behalf of Creditor Taubman Landlords
  2   tmclaughlin@allenmatkins.com, igold@allenmatkins.com

  3   Monserrat Morales on behalf of Interested Party Courtesy NEF
      mmorales@marguliesfaithlaw.com,
  4   Helen@marguliesfaithlaw.com;Victoria@marguliesfaithlaw.com;Brian@marguliesfaithlaw.com

  5   Kevin M Newman on behalf of Creditors Carousel Center Company, L.P., EklecCo NewCo LLC, and
      Pyramid Walden Company, L.P.
  6   knewman@menterlaw.com, kmnbk@menterlaw.com

  7   Juliet Y Oh on behalf of Debtor Cornerstone Apparel, Inc.
      jyo@lnbrb.com, jyo@lnbrb.com
  8
      Kristen N Pate on behalf of Creditor GGP Limited Partnership
  9   ggpbk@ggp.com

 10   Christopher E Prince on behalf of Interested Party Courtesy NEF
      cprince@lesnickprince.com,
 11   jmack@lesnickprince.com;mlampton@lesnickprince.com;cprince@ecf.courtdrive.com

 12   Lovee D Sarenas on behalf of Creditor Committee Official Committee of Unsecured Creditors
      lovee.sarenas@lewisbrisbois.com
 13
      Michael A Shakouri on behalf of Creditor c/o Goodkin & Lynch 5060 Montclair Plaza Lane Owner, LLC
 14   mshakouri@goodkinlynch.com, paralegal@goodkinlynch.com

 15   Ronald M Tucker, Esq on behalf of Creditor Simon Property Group, Inc.
      rtucker@simon.com, cmartin@simon.com;psummers@simon.com;Bankruptcy@simon.com
 16
      United States Trustee (LA)
 17   ustpregion16.la.ecf@usdoj.gov

 18   Ashley R Wedding on behalf of Creditor Temecula Towne Center Associates L.P.
      awedding@fabozzimillerlaw.com, dsandoval@fabozzimillerlaw.com
 19
      Elizabeth Weller on behalf of Creditor Dallas County, Smith County, and Tarrant County
 20   dallas.bankruptcy@publicans.com

 21   Eric R Wilson on behalf of Creditor Committee Official Committee of Unsecured Creditors
      kdwbankruptcydepartment@kelleydrye.com, MVicinanza@ecf.inforuptcy.com
 22
      Jeffrey C Wisler on behalf of Creditor Cigna Health and Life Insurance Company
 23   jwisler@connollygallagher.com, dperkins@connollygallagher.com

 24   Timothy J Yoo on behalf of Debtor Cornerstone Apparel, Inc.
      tjy@lnbyb.com
 25
 26
 27
 28

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      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
